  Case 2:14-cv-06791-SJF-GXB Document 19 Filed 03/09/15 Page 1 of 1 PageID #: 216


   manatt
    manatt | phelps | phillips
                                                                                                 Chad S. Hummel
                                                                                     Manatt, Phelps & Phillips, LLP
                                                                                       Direct Dial: (310) 312-4197
                                                                                    E-mail: chummel@manatt.com




    March 9, 2015


    BY ECF

    The Honorable Sandra J. Feuerstein
    United States District Judge
    United States District Court for the Eastern District of New York
    100 Federal Plaza
    Central Islip, NY 11722

              Re:        United States of America adv. Metro Data Management, Inc., Keitha Rocco
                         and Infogest, Quebec, Inc., Case No. 14-CV-6791 (SJF) (GRB)

    Dear Judge Feuerstein:

           We write on behalf of defendant 9097-9394 Quebec Inc. d/b/a Infogest Direct Marketing,
    incorrectly sued as 9097 9394 Infogest, Quebec Inc. Today, the Court granted our request that I
    be permitted to appear telephonically for the status conference on March 12, 2015, at 11:15 a.m
    EST. Per the instructions we received from the Court’s case manager, Mr. Morabito, below is
    the number at which the Court can reach me at the time of the conference:

                                 Dial-In: 1.866.922.3257
                                 Passcode: 24493128 (followed by the # key)

            We will await the Court’s call at that line. We thank the Court again for permitting us
    this convenience.

                                                          Respectfully submitted,

                                                          /s/ Chad S. Hummel

                                                          Chad S. Hummel

    cc: All counsel of record (by ECF)

    203053326.1




      11355 West Olympic Boulevard, Los Angeles, California 90064-1614 Telephone: 310.312.4000 Fax: 310.312.4224
Albany | Los Angeles | New York | Orange County | Palo Alto | Sacramento | San Francisco | Washington, D.C.
